                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA


            v.                                    22-cr-25-2 APM


STEFANIE CHIGUER


          MOTION FOR EARLY TERMINATION OF PROBATION
               AS SUCCESSFUL BY THE DEFENDANT

      Stefanie Chiguer, through counsel, Heather Shaner, now requests the
Court terminate her Supervised Probation as successful. The original
recommendation to the Court by the Office of United States Probation was
for a period of Twelve Months. Had the Court followed that recommendation
supervision would have terminated in June 2024. The Court Ordered her to
serve Twenty Four Months of Supervised Probation.


      Because Ms. Chiguer was a potential witness in a Government
prosecution her Sentencing was continued for over a year. During that time
she was under the supervision of the Court and required permission from the
Office of PreTrial services to travel for work.


      Ms. Chiguer has been under Court supervision since her arrest
January 18, 2022. According to PreTrial Services she was in compliance
from January 18, 2022 until her Sentence on June 20, 2023. Since June 20,
2023 she has been under the Supervision of U.S. Probation. She completed
successfully her special conditions of Probation in February 2024. She has
paid restitution and completed 120 hours of Community Service. She has
been on Supervised Probation for over Fifteen months and now moves this
Court to grant relief from further supervision and termination of probation as
successful.


1.    Stefanie was arrested in Massachussetts January 18, 2022. She has
been on Court Supervision since that Time, for 32 months;


2.    She entered a plea to 40 USC §5104(e)(2)(G) on April 22, 2023. But
for her willingness to be a government witness she would have been
sentenced within 90 days;


3.    Her Sentence was delayed until June 20, 2023 at the request of the
United States Attorney;


4.    She was interviewed multiple times by the Government and travelled
to Washington to be available in the Trial;


5.    From the date of her arrest January 18, 2022 until her Sentencing,
June 20, 2023, she was under the supervision of Pre Trial Services. During
this entire period she was in compliance with the Office of Pre Trial Services.
See: Docket 54


6.    She was eventually Sentenced on June 20, 23 to 24 months
Supervised Probation with special conditions that she pay Restitution of
$500.00 and Costs of $10.00 and Ordered to complete 120 hours of
Community Service. The Office of U.S. Probation had recommended Twelve
months of Probation; See Docket 52.


7.     Court costs and Restitution were paid in February 2024. Community
Service was completed in April 2024; See Att.. letter


8.     Since completion of Court Ordered Community Service she has
continued to volunteer with the 68 Hour program and was recently named a
Co-coordinator of the Program. See Letter re: Community Service.


9.     This misdemeanor conviction is Ms. Chiguer's only conviction during
an otherwise unblemished life. She has a full time job and supports herself
and her two young children. Her employer has sent a letter of reference;See
Att.


10.    Also attached to this request are letters from the 68 Hours of Hunger
Program and letters from other Community Members who praise Stefanie
and her outstanding service to her home town. Attached is also a letter from
from Stefanie Chiguer.


       In light of the good works of the defendant in her Community during
the Term of her Probation, for the last Fifteen months, and the unique
circumstances that extended the period of pre-sentence supervision from
January 2022 until June 20, 2023,       we are requesting the Court now
terminate her probation, as successful.       She has been under Court
Supervision for Two years and Nine Months, and now requests relief from
continued supervision.
Respectfully submitted,
_________/s/__________________
H. Heather Shaner Esq. DC 273276
Appointed by the Court for
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